Case 1:22-cr-00041-GLR Document1 Filed 02/03/22 Page 1of3

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EEN/KYO: USAO 2021R00753

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

UNITED STATES OF AMERICA

. ; Ai 1. 2.1 D
v. * — CRIMINALNO. 29.-C~- OCOHI- GLA
*
JANICE MARTINA MASON, * (Second Degree Murder,
* 18 U.S.C. § 1111; Forfeiture, 18 U.S.C.
Defendant * — § 981(a)(1)(C), 21 U.S.C. § 853(p),
* 28 U.S.C. § 2461(c))
*
REKKKKK
INDICTMENT
COUNT ONE

(Second Degree Murder)
The Grand Jury for the District of Maryland charges that:
On or about November 24, 2021, in the District of Maryland, the defendant,
JANICE MARTINA MASON,
did, on lands within the special maritime and territorial jurisdiction of the United States, with

malice aforethought, unlawfully kill Victim 1.

18 U.S.C. § 1111
 

Case 1:22-cr-00041-GLR Document1 Filed 02/03/22 Page 2 of 3

FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:
1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C.
§ 981(a)(1)(c), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the defendant’s
conviction under Count One of this Indictment.
2. Upon conviction of the offense alleged in Count One of this Indictment, the

defendant,

JANICE MARTINA MASON,
shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds traceable to the

offense.

Substitute Assets
3. If, as a result of any act or omission of the defendant, any of the property

described above as being subject to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

e. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

& has been commingled with other property which cannot be subdivided

without difficulty,
 

Case 1:22-cr-00041-GLR Document1 Filed 02/03/22 Page 3 of 3

the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), shall
be entitled to forfeiture of substitute property up to the value of the forfeitable property described

above.

18 U.S.C. § 981(a)(1\(C)
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

eS: a. (EEN)

Erek L. Barron

United States Attorney
A TRUE BILL:

SIGNATURE REDACTED _ SED LpA

—¥ofeperson Date
